         Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 1 of 21




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


SANDRA GARZA, as                                      )
the personal representative                           )
of THE ESTATE OF BRIAN SICKNICK                       )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )
                                                      )
DONALD J. TRUMP, et al.,                              )    Case No. 1:23-cv-00038 (APM)
                                                      )
               Defendants.                            )
                                                      )

                             PLAINTIFF’S OPPOSITION TO
                  MOTION TO DISMISS BY DEFENDANT DONALD J. TRUMP

       This suit seeks to hold accountable three men—Donald J. Trump, Julian Khater, and

George Tanios—whose actions on January 6, 2021, directly and foreseeably caused the untimely

death of United States Capitol Police Officer Brian Sicknick.

       Mr. Trump has filed a Motion to Dismiss (Dkt. 24) the Complaint (Dkt. 1). For the most

part, the issues he raises in this Motion are not new. In fact, they have been litigated in a number

of prior cases before several judges in this District, including this Court. And, universally, these

arguments have been rejected each time (and some are now pending before the D.C. Circuit

Court of Appeals).

       For example, this Court has previously held:

   1. Mr. Trump’s words and actions on January 6th are not protected by Presidential
      immunity. Thompson v. Trump, 590 F.Supp. 3d 46, 74 (D.D.C. 2022) (“After careful
      consideration, the court concludes that, on the facts alleged, absolute immunity does not
      shield President Trump from suit…”);

   2. The First Amendment does not bar claims against Mr. Trump for the events of January
      6th. Id. at 118 (“Dismissal of Plaintiff’s claims on First Amendment grounds is not
      warranted.”); and,



                                                 1
          Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 2 of 21




    3. Claims virtually identical to those presented here are sufficient to state a claim for relief
       under 42 U.S.C. § 1985(1), and they support a claim for monetary damages. Smith v.
       Trump, 2023 U.S. Dist. LEXIS 13602 *20 (D.D.C. Jan. 26, 2023) (allowing conspiracy
       claim against Mr. Trump filed by Capitol Police Officers to proceed); Thompson, 590 F.
       Supp. 3d at 73 (holding that the plaintiff’s injuries were fairly traceable to Mr. Trump
       before and on January 6th, 2021, and redressable with money damages).1

         For the reasons expressed below, this Court should reject Mr. Trump’s arguments and

order that this case proceed on the remaining counts.

                                           ARGUMENT

    I.      A PRESIDENT IS NOT SHIELDED BY BLANKET IMMUNITY FROM
            CIVIL SUIT MERELY BECAUSE HIS WORDS TOUCH ON MATTERS OF
            PUBLIC CONCERN

         Mr. Trump’s several arguments on the subject of Presidential Immunity have already

been rejected by this Court many times over. By way of summary, Ms. Garza offers the chart on

the following page:




1
 Mr. Trump does raise some new issues specific to this case. These include whether Ms. Sandra
Garza possesses standing to sue, and whether her aiding-and-abetting assault claim should be
dismissed. For the reasons that follow, Ms. Garza has standing as the lawfully appointed,
personal representative of Officer Sicknick’s estate, and the Plaintiff is withdrawing her Aiding
and Abetting Assault claim.



                                                  2
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 3 of 21




 The Defendant’s Motion to Dismiss:                   This Court’s prior holdings on the same
                                                      facts:

 The President’s use of the “bully pulpit” on a       “Blanket immunity cannot shield a President
 matter of public concern bars the Plaintiff’s        from suit merely because his words touch on
 claims because of “absolute immunity.”               matters of public concern. The context in
 Donald J. Trump’s Memorandum of Law in               which those words are spoken and what is
 Support of his Motion to Dismiss (Dkt. 24-1)         said matter.” Thompson, 590 F.Supp. 3d at
 (Def’s Memo) at 19                                   80.


 President Trump’s words and actions before           The following acts were not within the outer
 and on January 6, 2021, were within the outer        perimeter of Mr. Trump’s duties:
 perimeter of his presidential duties. Def’s
 Memo at 13.                                             1. Tweets criticizing state officials for
                                                            not doing enough to enable him to
                                                            prevail in their states.
                                                         2. Lawsuits “plainly … directed at
                                                            securing incumbency.”
                                                         3. Tweets which “expressly stated or
                                                            implied that the rallies would help him
                                                            remain President.”
                                                         4. Calling upon the Vice President to
                                                            reject Electoral College votes.
                                                         5. Planning the January 6th Rally.
                                                         6. Delivering a speech with an electoral
                                                            purpose not in furtherance of any
                                                            official duty.

                                                      Thompson, 590 F.Supp.3d at 82-83.

 Mr. Trump was “ensur[ing] the faithful               “The court finds that President Trump's Take
 execution of the laws of the United States           Care Clause argument is misleading and
 and lobbying for proper legislative action to        wrong as a matter of law…” Thompson,
 the same ends.” Def’s Memo at 20.                    590 F.Supp. 3d at 77.



       Instead of relating to any official act, as this Court has observed, Mr. Trump’s acts and

statements leading up to, and on, January 6, 2021, instead “entirely concern[ed] his efforts to

remain in office for a second term,” and were not grounded in “faithfully executing the laws,




                                                  3
         Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 4 of 21




conducting foreign affairs, commanding the armed forces, or managing the Executive Branch.”

Id. at 84.

        Therefore, Mr. Trump was, and still is, incorrect to claim that using the “bully pulpit”

automatically armors a president against this suit when discussing matters of public concern.

Def’s Memo at 21-22. “To construct an immunity from suit for unofficial acts grounded purely

in the identity of [the President’s] office is unsupported by precedent.” Clinton v. Jones, 520

U.S. 681, 695 (1997).

        This Court should reject Mr. Trump’s latest reiteration of his untethered Presidential

immunity claims, just as it has rejected them previously.

        A. Presidential Immunity is Not Absolute

        In Nixon v. Fitzgerald, 457 U.S. 731 (1982), the Supreme Court undertook to define the

scope of immunity afforded to the President of the United States. The Court considered

Presidential immunity “a functionally mandated incident of the President’s unique office, rooted

in the constitutional tradition of separation of powers,” and reasoned that without immunity, a

President could too easily be distracted by “cognizance of [his] personal vulnerability to suit.”

Id. at 749, 752. President Nixon was immune from suit because his actions—firing a federal

employee—“lay well within the outer perimeter of [his] authority.” Id. at 757.

        Fifteen years later in Jones, the Court ruled that the Fitzgerald rationale—that Presidents

need to function without fear that a particular decision could give rise to personal liability—is

not absolute. Presidential immunity does not apply to “unofficial conduct.” 520 U.S. at 693-694;

Thompson, 590 F.Supp.3d at 75.

        No court has ruled that presidential immunity is absolute. Presidential immunity extends

only as far as necessary to prevent “distortion of the Executive's ‘decision-making process.’” Trump

v. Vance, 140 S. Ct. 2412, 2416 (2020) (quoting Jones, 520 U.S. at 694, n.19). Presidential


                                                 4
         Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 5 of 21




immunity does not apply against civil litigation involving private conduct; nor does it immunize a

President from the inconvenience of subpoenas. See U.S. v. Nixon, 418 U.S. 683, 702 (1974); Trump

v. Vance, supra. A President is not immunized against actions for equitable relief even with respect

to official duties. See Clinton v. City of New York, 524 U.S. 417, 438 (1998)). Nor is a President

protected against suits for “unofficial conduct” with no relation to a president’s official

responsibilities. Jones, 520 U.S. at 693. And Presidential immunity certainly does not provide cover

for threatening state election officials or stirring up a mob with social media posts, a rally, and a

speech. Thompson, 590 F. Supp. 3d at 82-84.

        Thus, a president is subject to lawsuits for acts taken outside his official capacity. Jones,

520 U.S. at 696.

        B. Mr. Trump’s Words and Actions Before and During the January 6, 2021, Rally
           Exceeded the Outer Perimeter of the President’s Duties

        This Court has already held that “[i]n evaluating a presidential claim of absolute

immunity, the court must consider the relationship of the challenged conduct to the claimed

corresponding function of the President.” Thompson, 590 F.Supp. 3d at 83. Now Mr. Trump

claims he is immune from suit because he was speaking about a matter of public concern, and

therefore was within the “outer perimeter of his official duties.” Def’s Memo at 8-9.

        But this Court has already rejected that claim as “too simplistic.” Thompson, 590 F.Supp.

3d at 77. Rather than afford immunity merely because the president was speaking on a matter of

public concern, the proper test is to “evaluate the defense on the specific facts alleged and, based

on those facts, determine whether President Trump's words were spoken in furtherance of a

presidential function.” Id. at 81.

        The Complaint has alleged facts sufficient to show Mr. Trump’s words and actions were

not spoken in furtherance of an immunized, official presidential function. Instead, the



                                                    5
         Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 6 of 21




Defendant’s words and actions were plainly outside legitimate presidential action. As this Court

has observed, his words and actions were aimed at securing his incumbency; “complain[ing]

about perceived cases of election fraud;” “urg[ing] members of Congress to object to certain

state certifications;” and “exhort[ing] the Vice President to return those certifications to those

states to be recertified.” Id. at 82-84. “The words spoken by the President—without delving into

the motivation behind them—reflect an electoral purpose, not speech in furtherance of any

official duty.” Id. As such, these acts were not within the outer perimeters of any official act.

       As also stated in the Complaint, Mr. Trump directly contacted local election officials and

state legislators in Michigan, Pennsylvania, and Georgia to pressure them to overturn their states’

election results. Complaint at ¶¶ 35-51. This included saying to Georgia’s Secretary of State, “I

just want to find 11,780 votes, which is one more than we have.” Id. at ¶ 50. He also publicly

referred to that same state official as an “enemy of the people.” Id. at ¶ 46. And he filed

multiple lawsuits seeking to undo the election results, but only in states where he did not prevail.

Id. at ¶¶ 56-57. He issued tweets and statements that did not advocate any policy changes or

legislation, but were instead expressly made to gin up a fervor that he hoped would help him

retain his position. Id. at ¶ 77 (“We will never give up.”); id. at ¶ 78 (“We will never concede, it

doesn’t happen.”); id. at ¶ 79 (“We will not let them silence your voices. We’re not gonna let it

happen.”); id. at ¶ 80 (“[W]hen you catch somebody in a fraud, you’re allowed to go by very

different rules.”). And Mr. Trump instructed his rallygoers to march upon the Capitol to “take

back [their] country.” Id. at ¶ 117. As alleged in the Complaint, these unofficial acts (and other

acts, tweets, and statements) make Mr. Trump directly and vicariously liable for the death and

destruction that predictably followed. Id. at ¶ 119-177.




                                                  6
         Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 7 of 21




       These were not official actions taken in furtherance of a presidential duty. Thompson,

590 F.Supp. 3d at 82. These statements and calls for action do not relate to anything in a

President’s responsibilities, functions, or powers. They relate solely to Mr. Trump’s effort to

remain in office for a second term, and so are not within “the immunity’s justifying purpose” of

protecting a president’s official functions. Fitzgerald, 457 U.S. at 755.

       Cases supporting Executive Immunity are all grounded in obvious examples of

executive-level functions unique to the presidency—that is, duties one must actually be the

president to discharge. Immunity therefore covers, among other actions, making personnel

decisions (see Fitzgerald, supra); determining contract awards (see In re Global Crossings, Ltd.

Securities Litigation, 314 F. Supp. 2d 172 (S.D.N.Y. 2003)); enacting federal legislation (see

State of Mississippi v. Johnson, 71 U.S. 475 (1866)); and managing the logistics of a national

emergency (see Freeman v. United States, No. 20-13341, 2020 WL 7383191, at *1 (D.N.J. Dec.

16, 2020)). Mr. Trump’s actions surrounding January 6, 2021, were neither kith nor kin to any

Article II power or mandate—they were wholly outside his official acts. Thompson,

590 F.Supp. 3d at 82-83 (observing that tweeting criticism at state election officials, summoning

supporters to rallies to help him remain President, turning his supporters’ ire against the Vice

President, planning the January 6th Rally, and then speaking at the rally were not in furtherance

of any official duty).

       Presidents are immunized from suit where the underlying act is linked to the president’s

job description, and not a personal or unofficial undertaking. But it is not a function of the

presidency to secure or perpetuate incumbency. Thompson, 590 F.Supp. 3d at 82. The

Defendant’s words and actions, as alleged in the complaint, were not “speech in furtherance of




                                                 7
         Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 8 of 21




any official duty,” were not within the outer perimeter of his constitutional role, and are not

immunized from suit. Id. at 83.

       C. The “Take Care Clause” Does Not Confer Immunity in this Case

       Mr. Trump next claims the events of January 6, 2021, were within the outer perimeter of

his Article II duties because President Trump was using the “bully pulpit” to ensure laws of the

United States were “faithfully executed.” Def’s Memo at 20, 26. This is an incorrect

understanding of the Take Care Clause, and this Court has already rejected this same argument.

Thompson, 590 F.Supp. 3d at 77 (“President Trump’s Take Care Clause argument is misleading

and wrong as a matter of law….”).

       The Court’s previous analysis is correct and should not be disturbed: neither the Take

Care clause nor the Electoral Counting Act gives the President any power, duty, or immunity in

the process of counting electoral votes.

       The Electoral Count Act prescribes no role for the President. The President is—by wise

design—absent from that process. There is nothing for the President to do, enact, or enforce

with regard to the counting of electoral votes. There are no subordinates whose actions need to

be directed, choreographed, budgeted, or regulated. The process of counting votes is unthinking

and virtually robotic; it is ceremonial, with no room for any policy variations or the Executive

Branch’s stylistic acumen. 3 U.S.C. § 15.

       Nor does Article II bestow upon the President any power concerning Congressional

procedure, except that the President may adjourn Congress when there is disagreement as to the

time for adjournment. U.S. Constitution, Article II, § 3. And the Twelfth Amendment, which

concerns the counting of electoral votes, makes no mention of Presidential powers or duties

whatsoever. “The President’s Take Care Clause duty therefore does not extend to government




                                                 8
           Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 9 of 21




officials over whom he has no power or control.” Thompson, 590 F.Supp. 3d at 78 (italics in

original).

          Assuming arguendo the President had some role in executing the Electoral Count Act or

the relevant Constitutional provisions, the Take Care clause would still require him to act

“faithfully.” That adverb is not superfluous, see generally Montclair v. Ramsdell, 107 U.S. 147,

152 (1883), and cannot reasonably be read to encompass obstructing, halting, preventing, and

threatening by violence the procedures that law requires. As mandated by the Constitution, the

election was held in November 2020, the electoral votes were cast in December 2020, and those

votes were set to be counted on January 6, 2021, when Mr. Trump’s tweets, rally, speech, and

conduct interfered.

          Therefore, this Court should again decline to extend presidential immunity to acts taken

in obvious opposition to Constitutional mandates and federal law.

                                                  ***

          Because none of the Defendant’s acts as alleged in the complaint were within even the

outer perimeters of presidential functions, this Court should, respectfully, deny his Motion to

Dismiss.

    II.      THE COMPLAINT IS NOT BARRED BY THE FIRST AMENDMENT

          Mr. Trump next tries to cast this case as an attack on his “political speech” and an effort

to limit “speech on matters of public concern.” Def. Memo at 25-26. Not so. This case regards

accountability for dangerous speech—speech that formed an unlawful conspiracy, and speech

that incited violence—all of which led to Officer Brian Sicknick’s death. Speech “directed to

inciting or producing imminent lawless action and is likely to incite or produce such action” is

not and never has been protected by the First Amendment. Brandenburg v. Ohio, 395 U.S. 444,




                                                   9
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 10 of 21




447 (1969). This Court has already rejected Mr. Trump’s First Amendment defenses concerning

his speech on January 6, 2021. Thompson, 590 F.Supp. 3d at 108 (“Only in the most

extraordinary circumstances could a court not recognize that the First Amendment protects a

President’s speech. But the court believes this is that case.”) (italics in original).

        This Court has also analyzed Mr. Trump’s January 6th, 2021, speech, word by word, and

phrase by phrase, and as a result already concluded that dismissal of claims arising from that

speech on First Amendment grounds is not warranted. Thompson, 590 F.Supp. 3d at 115. Just

as it has before, this Court should find that Mr. Trump’s January 6, 2021, speech is not protected

on First Amendment grounds and reject his recycled arguments here.

        A. The Brandenburg Standard for Incitement

        The First Amendment does not protect speech that directly incites imminent lawlessness,

as Mr. Trump’s speech and exhortations to his rallygoers did here. Id. at 115.

        As this Court has observed, there is not an exact test for what constitutes unlawful

incitement. Id. at 112-113. Nonetheless, certain commonalities within Supreme Court cases

post-Brandenburg are instructive, and they all weigh against First Amendment protection for Mr.

Trump’s speech. In Hess v. Indiana, 414 U.S. 105, 108-09 (1973) (per curiam), for example, the

Court held that language that was “intended to produce, and likely to produce, imminent

disorder,” and directed to specific persons, runs afoul of the First Amendment. Nine years later,

in N.A.A.C.P. v. Claiborne Hardware, 458 U.S. 886, 929 (1982), the Court reasoned that one

may look to evidence of a speaker’s “authorization of wrongful conduct” to determine whether

their speech constitutes unlawful incitement. And, along with the actual words spoken, the

context for the speech—the setting in which the speech occurred—can illuminate whether the

speech was unlawful incitement. See FCC v. Pacifica Foundation, 438 U.S. 726, 744 (1978),

quoting Schenk v. United States, 249 U.S. 47, 52 (1919) (“[T]he character of every act depends


                                                  10
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 11 of 21




upon the circumstances in which it is done …. The most stringent protection of free speech

would not protect a man falsely shouting fire in a theater….”).

       At bottom, the key to the Brandenburg exception to the First Amendment is this:

language that is meant to incite or produce imminent lawless action, and is likely to incite or

produce such action is not protected speech. Thompson, 590 F.Supp. 3d at 112. Mr. Trump’s

speech and conduct fall squarely within that category.

       B. Mr. Trump’s Speech Exceeds the Brandenburg Standard for Incitement

      Applying Brandenburg as it actually is, and not how Mr. Trump would prefer it be

interpreted, his speech is at least “plausibly” unprotected by the First Amendment. Thompson,

590 F.Supp. 3d at 115. Therefore, this Court should respectfully deny his Motion to Dismiss on

First Amendment grounds.

       As in other First Amendment cases, the Court is obligated “‘to make an independent

examination of the whole record.’” Bose Corp. v. Consumers Union of United States, Inc.,

466 U.S. 485, 499 (1984), quoting New York Times v. Sullivan, 376 U.S. 254, 284–286 (1964).

This Court has already done so. Applying Brandenburg and its progeny to President Trump’s

“Stop the Steal Rally,” this Court has ruled that Brandenburg weighs against a finding that the

speech is protected. Thompson, 590 F. Supp. 3d at 115-118.

               1. The language was intended to produce, and was likely to produce,
                  imminent lawlessness from its audience.

       Mr. Trump told the crowd, “they rigged an election.” He added, “They rigged it like

they’ve never rigged an election before.” Complaint at ¶ 76. He said “We will never concede, it

doesn’t happen. You don’t concede when there’s theft involved. Our country has had enough.

We will not take it anymore and that’s what this is all about.” Id. at ¶ 78. Right before turning




                                                11
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 12 of 21




the crowd loose on the U.S. Capitol, Mr. Trump exclaimed, “You’ll never take back our country

with weakness. You have to show strength, and you have to be strong.” Id. at ¶ 144.

       As this Court has held, “There is no safe haven under Brandenburg for the strategic

speaker who does not directly and unequivocally advocate for imminent violence or lawlessness,

but does so through unmistakable suggestion and persuasion.” Thompson, 590 F.Supp. 3d at

115. And, as this Court has also ruled, “These words stoked an already inflamed crowd,” and

therefore “plausibly crossed the line into unprotected territory.” Id. at 116.

               2. Mr. Trump’s speech authorized and encouraged imminent wrongful
                  conduct.

       Mr. Trump was—and still is—telling nearly half the country, including all of those at his

rally, that the 2020 election was hijacked by President Biden who had illegally usurped power

and directly undermined the will of the people. As part of that fantasy, Mr. Trump called for

immediate action to stop the counting of electoral votes.

       The facts here starkly contrast with those in cases where the Supreme Court has found the

threat of lawless conduct to be too remote. In Claiborne Hardware, 458 U.S. at 902, for

instance, the Court found that a threat of future “discipline” for violators of a boycott was not

likely to produce imminent disorder. And in Hess, 414 U.S. at 107 the Court found that a

protestor’s promise that “We’ll take the fucking street later” (emphasis added), or “We’ll take

the f------g street again” was not immediate enough to trigger Brandenburg.

       But, as this Court has noted, any claim that Mr. Trump’s words did not stoke imminent

violence is belied by the full context of that day. Phrases like, “We fight like hell and if you

don’t fight like hell, you’re not going to have a country anymore,” immediately before

instructing followers to “walk down Pennsylvania Avenue,” make it at least “plausible that those




                                                 12
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 13 of 21




words were implicitly ‘directed to inciting or producing imminent lawless action and [were]

likely to produce such action.’” Thompson, 590 F.Supp. 3d at 115.

       Mr. Trump argues that because he “clearly reminded his supporters to ‘peacefully and

patriotically make [their voices] heard’ at the Capitol,” his speech could not even plausibly be

seen as incitement. Def’s Memo at 27. But, as this Court has noted, these words must be

contrasted against his exhortation, an hour later, to “fight like hell.” Thompson, 590 F.Supp. 3d

at 117. Whatever Mr. Trump said about peaceful protest on January 6th—and it wasn’t much—

was undercut by his own, later statements. Within the context of the larger speech and the

circumstances surrounding it, his use of the words “peaceful,” and “patriotic,” in an apparent

afterthought, does not make the speech protected expression. Id.

       In light of this context, his January 6th Rally Speech was “speech … brigaded with

action” that was plausibly “directed to inciting or producing imminent lawless action and likely

to incite or produce such action.” Id., quoting Brandenburg, 395 U.S. at 456, and Hess, 414 U.S.

at 108–09.

       C. Mr. Trump’s Proposed Additions to the Brandenburg Analysis Have No Basis in
          Law, and this Court Has Already Rejected Them

       Mr. Trump’s Motion to Dismiss attempts to layer additional and unnecessary

requirements upon Brandenburg. Respectfully, this Court has already rejected each of these

contentions and should do so again here.

               1. Brandenburg is not grounded in “true threats.”

       First, Mr. Trump argues that incitement is “limited to true threats” and that “mere

encouragement is quintessential protected advocacy,” with D.C.’s anti-riot laws subject to a

facial challenge if this Court would hold otherwise. Def’s Memo at 29, quoting United States v.

Miselis, 972 F.3d 518, 536 (4th Cir. 2020). To be sure, “true threats” are not protected by the



                                                13
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 14 of 21




First Amendment. Watts v. United States, 394 U.S. 705, 708 (1969) (per curiam). But “true

threats” and incitement are separate types of unprotected speech: “Incitement creates a risk that

third parties will inflict violence on the victim, whereas threats engender fear and intimidation

that usually reach the victim directly.” First Amendment - Freedom of Speech - Second Circuit

Affirms Threats Conviction in Internet Speech Case, 127 Harv. L. Rev. 2585, 2589 (2014). What

they share is that, in both types of speech, the threat of wrongdoing is imminent. That is what

matters to the analysis—not whether the imminent threat is made directly to the intended victim

or instead is routed through third parties.


               2. Brandenburg does not compel this Court to consider President Trump’s
                  speech in light of other politicians’ speeches.

       Second, Mr. Trump argues that allowing this case to proceed will “clutter the dockets of

federal courts and incentivize using courts as a weapon against political opponents.” Def’s

Memo at 29. Again, this Court has already rejected this “what-aboutism” argument that points

towards what other politicians have said and complains about the “floodgates of litigation” that

could open regarding other speeches and protests. Id. at 26, 29. As this Court has stated, “[e]ach

case must be evaluated on its own merits.” Thompson, 590 F.Supp. 3d at 117. A Brandenburg

analysis does not compel analogy to other speeches; it asks merely whether there was an implicit

call for imminent violence or lawlessness. Id. (noting that Mr. Trump “called for thousands ‘to

fight like hell’ immediately before directing an unpermitted march to the Capitol, where the

targets of their ire were at work, knowing that militia groups and others among the crowd were

prone to violence.”).




                                                14
          Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 15 of 21




                 3. There is no “negligence” factor within Brandenburg.

          Third, Mr. Trump also argues that “one cannot have negligent liability for incitement”

and therefore that “an individual cannot be liable for incitement based on how others interpreted

his speech.” Def’s Memo at 28-29. For this proposition, he cites to the dissent from Morse v.

Frederick, 551 U.S. 393 (2007) and argues that a Brandenburg analysis would rely too much

upon how others interpreted the speech. This Court has again already ruled that the speech at

issue was inciteful and unprotected regardless of how anyone actually reacted to it. Thompson,

590 F.Supp. 3d at 117.

                                                 ***

          This Court has previously rejected Mr. Trump’s First Amendment defenses.

Respectfully, it should do so again here.

   III.      OFFICER SICKNICK’S ESTATE HAS PROPERLY STATED CLAIMS

          A. Officer Sicknick’s Estate Has Properly Stated A Claim Under 42 U.S.C. §
             1985(1)

             Mr. Trump asserts several arguments that Plaintiff has failed to state a claim under 42

U.S.C. § 1985(1) because the Estate “does not adequately allege that President Trump caused the

events of January 6.” Def’s Memo at 22. Each of these arguments should be outright rejected.

For one thing, the Plaintiff’s entire complaint spells out in detail specific factual allegations that

Mr. Trump was directly responsible for the unlawful events of January 6th, see Complaint at ¶¶

23-118, and of course at this stage of the pleadings the Estate’s well-pleaded facts are to be

viewed in the most favorable light and all reasonable inferences are to be drawn in its favor.

Hurd v. District of Columbia, 864 F.3d 671, 675 (D.C. Cir. 2017). In any event, each of Mr.

Trump’s proffered arguments have already been rejected by this Court.




                                                  15
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 16 of 21




       First, Mr. Trump asserts that the alleged failure of the Estate to plausibly claim he entered

into an agreement with any other alleged co-conspirator “alone is fatal to her claims of

conspiracy.” Def’s Memo at 22. This Court has already articulated in clear fashion the

principles of civil conspiracy and why it is at least plausible that Mr. Trump joined in a

§ 1985(1) conspiracy with well-known militia groups, such as the Proud Boys and Oath Keepers,

as well as the individual rioters who stormed the Capitol. Thompson, 590 F.Supp. 3d at 96-97;

see also Smith, 2023 U.S. Dist. LEXIS at *20 (allowing conspiracy claim against Mr. Trump

filed by Capitol Police Officers to proceed).

       Indeed, in Thompson this Court detailed the many facts, which will not be repeated here

but which are respectfully incorporated, involving the events of January 6th that involved the

former President and allowed the Plaintiffs there to survive a similar Motion to Dismiss.

Thompson, 590 F.Supp. 3d at 97-105.2 After consideration, this Court determined that the

asserted facts plausibly supported a conspiracy claim under § 1985(1) between Mr. Trump and

“others who entered the Capitol on January 6th with the intent to disrupt the Certification of the

Electoral College vote through force, intimidation, or threats.” Thompson, 590 F.Supp. 3d at

101. That includes the two other individual defendants – George Tanios and Julian Khater – in

this action, both of whom pled guilty for their actions on January 6th.

       On July 20, 2022, Defendant Tanios pled guilty to Entering and Remaining in a

Restricted Building or Grounds in violation of 18 U.S.C. § 1752(a)(2) and (b)(2).3 In his factual



2
 Some of the undersigned counsel in this action are also counsel for plaintiffs in Thompson and
many of the alleged facts that support the respective Complaints are, not surprisingly, identical.
3
  This Court can, and should, take judicial notice that many Defendants have been convicted—
either by plea or by jury verdict—of participating in a criminal conspiracy to obstruct Congress,
other conspiratorial conduct, or related criminal conduct. See Covad Commc’ns Co. v. Bell Atl.



                                                 16
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 17 of 21




proffer, Defendant Tanios admitted to accompanying Defendant Khater to the January 6th rally

in D.C. and admitted to purchasing and carrying the spray Defendant Khater used on Officer

Sicknick. He was sentenced to time served (after having served five months in jail) on

January 27, 2023. Complaint at ¶ 134

       On August 26, 2022, Defendant Khater pled guilty to Assaulting, Resisting, or Impeding

Certain Officers Using a Dangerous Weapon, in violation of 18 U.S.C. § 111(a)(1) and (b).

Officer Sicknick was one of the officers Defendant Khater admitted he assaulted as a part of his

guilty plea. Id. at ¶ 14. He received a sentence of eighty months in prison on January 27, 2023.5

       Second, the notion that Mr. Trump’s involvement in the conspiracy constituted

“protected speech” or that he has immunity, Def’s Memo at 22, has also been rejected by this

Court and needs no further analysis than that applied above. Thompson, 590 F.Supp. 3d at 73-84

(rejecting identical arguments). Similarly, Mr. Trump’s arguments concerning the

inapplicability of § 1985(1), see Def’s Memo at 23-25, must also be dismissed. Thompson,

590 F.Supp. 3d at 90-94 (rejecting identical arguments).




Corp., 407 F.3d 1220, 1222 (D.C. Cir. 2005) (stating that, when reviewing motions to dismiss
for failure to state a claim, courts may take judicial notice of facts on the public record). The
Estate’s claim of civil conspiracy, and the Defendants' involvement in it, including President
Trump, is therefore plausible. The alleged acts of assault and wrongful death against MPD
officers were “reasonably foreseeable” consequences of the scheme, for which the Defendants
can be held liable, even if they themselves did not carry out those tortious acts. Halberstam v.
Welch, 705 F.2d 472, 487 (D.C. Cir. 1983).

4
  See also Time-Served Sentence for Jan. 6 Rioter Linked to Sicknick Assault Will Promote ‘Respect’ of
Law: Feds, LAW & CRIME, https://lawandcrime.com/u-s-capitol-breach/time-served-sentence-for-
jan-6-rioter-linked-to-sicknick-assault-will-promote-respect-of-law-feds/ (last accessed Apr. 24,
2023, 9:05 AM).
5
  See also Man Who Shot Pepper Spray at Officer on Jan. 6 Gets Nearly 7 Years in Prison, NEW
YORK TIMES, https://www.nytimes.com/2023/01/27/us/politics/brian-sicknick-julian-khater-
george-tanios-jan-6.html (last accessed Apr. 24, 2023, 9:10 AM).


                                                  17
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 18 of 21




       Third, Mr. Trump again seeks to persuade this Court that Members of Congress and the

Vice President are not Officers pursuant to section 1985(1). This argument, too, obviously must

fail. Thompson, 590 F.Supp. 3d at 90-96 (rejecting similar arguments).

       Finally, Mr. Trump also boldly claims as a general premise, i.e., lacking any specific

legal precedent or analysis, that section1985(1) does not apply to the President of the United

States. Def’s Memo at 33. Even beyond the fact that for the events in question he was acting in

a political, not presidential, status,6 Mr. Trump cannot identify even one court (of the many) that

has addressed this § 1985(1) claim against him that has agreed with that assertion. That speaks

volumes.

       B. Plaintiff has Properly Stated Claims Under District of Columbia Law.

       In addition to relying upon previously rejected arguments, Mr. Trump also argues that

Plaintiff’s three District of Columbia state law violations: (1) wrongful death,

(2) incitement to riot, and (3) aiding and abetting common law assault, should be dismissed on

the basis she has “failed to adequately allege plausible facts to state a claim under any of these

statutes.” Def’s Memo at 25-26. These arguments, with one exception noted below,7 should

similarly be rejected.

       First, Mr. Trump asserts that “Plaintiff has failed to allege that a spouse, domestic

partner, or next of kin exists that may recover under the wrongful death statute.” Id. at 26. For




6
 United States v. Chrestman, 525 F. Supp. 3d 14, 33 (D.D.C. 2021) (“[A] President cannot,
within the confines of his constitutional authority, prevent the constitutionally mandated
certification of the results of a Presidential Election or encourage others to do so on his behalf,
nor can he direct an assault on the coequal Legislative branch of government.”).
7
 The Estate respectfully withdraws Count Five (Aiding and Abetting Common-Law Assault)
against Mr. Trump.



                                                 18
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 19 of 21




good reason, none of those are claims being pursued within this lawsuit. The Plaintiff properly

filed these claims, individually and as “the personal representative for the Estate of Brian

Sicknick,” Complaint at ¶ 8, though no personal claims are being pursued. Given that President

Trump has filed a Motion to Dismiss, again, the Court assumes all of Plaintiff’s facts to be “true

(even if doubtful in fact).” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007). Thus, that

Ms. Garza asserts she is the authorized personal representative for the deceased, Officer

Sicknick, is sufficient as a matter of fact and law to defeat President Trump’s Motion at this

stage of the proceedings.8

       Second, Mr. Trump alleges that the Estate’s Complaint “fails to adequately allege that

Officer Sicknick’s death was caused by a wrongful or negligent act of President Trump or by

President Trump’s default” because it “admits that Officer Sicknick’s death was determined to

have been caused by natural causes.” Def’s Memo 28, citing Complaint at ¶ 110. Based on Mr.

Trump’s analysis, this “negates the necessary element of causation: a showing that an alleged

wrongful act caused Officer Sicknick’s tragic passing.” Def’s Memo at 28. This argument is

disingenuous and based on a slanted, completely distorted, view of the Estate’s allegations.

       For one thing, the Estate directly ties the events of January 6th to the death of Officer

Sicknick. As a direct result of the attack by Defendants Khater and Tanios and others—with

whom Mr. Trump conspired per the plausible allegations in the Complaint—Officer Sicknick




8
  Plaintiff’s claim of wrongful death is pursued under D.C. Code §16-2702 which “shall be
brought by and in the name of the personal representative of the deceased person, and within 2
years after the death of the person injured.” The term “personal representative” is limited
to officially appointed executors and administrators. Saunders v. Air Fla., Inc., 558 F. Supp.
1233 (D.D.C. 1983), quoting Strother v. District of Columbia, 372 A.2d 1291 (1977). Although
at this stage this issue is settled by the requirement that the Court accept the Complaint’s facts as
true, documentation exists reflecting that Ms. Garza was lawfully appointed as the personal
representative of Officer Sicknick’s estate. Exhibit “1”.


                                                 19
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 20 of 21




suffered physical injuries. Id. at ¶ 130. From those injuries, Officer Sicknick died. Id. at ¶131-

32.

       The Complaint alleges more than enough to establish causation for wrongful death. See

generally Halberstam v. Welch, 705 F.2d 472, 481-482 (D.C. Cir. 1983) (noting that even

“suggestive words” may be enough to create civil liability in a conspiracy and wrongful death

action). Further, documentation as to the cause of death would be a proper request as part of the

forthcoming discovery process and would be responded to accordingly.

       Of course, there is no question that Mr. Trump caused the actions that led to Officer

Sicknick’s death and even intervening criminal acts of third parties do not break the chain if they

are reasonably foreseeable. See Bradley v. NCAA, 464 F. Supp. 3d 273, 298 (D.D.C. 2020);

Briggs v. Washington Metropolitan Area Transit Authority, 468 F.Supp. 2d 8, 12 (D.D.C. 2006).

Here, not only were the acts of the individual rioters foreseeable, but they were also the intended

result of Mr. Trump’s words and conduct.

       Finally, Mr. Trump again attempts to argue that he is neither factually nor legally

responsible for the January 6th events, relying upon the same reasons asserted earlier to extricate

himself from any conspiracy claims. Def’s Memo at 29. Based on the same responses explained

previously, this argument is unavailing. Thompson, 590 F.Supp. 3d at 96-97.

       For the foregoing reasons, this Court should respectfully deny the Defendant’s Motion to

Dismiss.

       Dated: April 25, 2023                  Respectfully submitted,

                                                      s/Matthew Kaiser
                                                     _____________________________
                                                     KAISERDILLON PLLC
                                                     Matthew Kaiser (D.C. Bar No. 486272)
                                                     Noah Brozinsky (D.C. Bar No. 1655789)
                                                     1099 Fourteenth Street, N.W., 8th Fl.



                                                20
        Case 1:23-cv-00038-APM Document 25 Filed 04/25/23 Page 21 of 21




                                                     Washington, D.C. 20005
                                                     Tel: (202) 640-2850
                                                     Email: mkaiser@kaiserdillon.com
                                                             nbrozinsky@kaiserdillon.com

                                                     s/Philip Andonian
                                                     ______________________________
                                                     CALEBANDONIAN PLLC
                                                     Philip Andonian (D.C. Bar No. 490792)
                                                     Joseph Caleb (D.C. Bar No. 495383)
                                                     1100 H Street, N.W. – Ste. 315
                                                     Washington, D.C. 20005
                                                     Tel: (202) 953-9850
                                                     Email: phil@calebandonian.com
                                                              joe@calebandonian.com


                                                     s/Mark S. Zaid

                                                     ______________________________
                                                     Mark S. Zaid, Esq. (D.C. Bar #440532)
                                                     Bradley P. Moss, Esq. (D.C. Bar #975905)
                                                     Mark S. Zaid, P.C.
                                                     1250 Connecticut Avenue, N.W.
                                                     Suite 700
                                                     Washington, D.C. 20036
                                                     (202) 498-0011
                                                     (202) 330-5610 fax
                                                     Mark@MarkZaid.com
                                                     Brad@MarkZaid.com

                                                     Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE
       I certify that on April 25, 2023, a copy of the foregoing was filed with the Clerk of the
Court using the Court’s CM/ECF system, which will send a copy to all counsel of record.

                                                             /s/ Noah Brozinsky
                                                             Noah Brozinsky
                                                             Attorney for Plaintiff




                                                21
